    Case 4:23-cv-03556 Document 69 Filed on 06/03/24 in TXSD Page 1 of 7




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

    DARAIUS DUBASH and                            )
    DR. FARAZ HARSINI,                            )
                                                  )
    Plaintiffs,                                   )
                                                  )     CASE NO. 4:23-cv-03556
    v.                                            )
                                                  )
    CITY OF HOUSTON, TEXAS, et al.;               )
                                                  )
    Defendants.                                   )

   AGREED MOTION TO EXTEND DEADLINES FOR DISCOVERY AND
                   DISPOSITIVE MOTIONS

         Under Federal Rule of Civil Procedure 16(b)(4), Plaintiffs Daraius Dubash and

Dr. Faraz Harsini, along with all Defendants, respectfully submit this agreed motion

to amend the Court’s scheduling order (ECF No. 38), to extend discovery deadlines

by 90 days as well as deadlines for dispositive motions by 60 days, including the

following new deadlines:

              •   Discovery must be completed: October 31, 2024

              •   Dispositive motions will be filed: December 13, 2024

              •   Responses to dispositive motions will be filed: January 13, 2025

A proposed amended scheduling order is attached.

         Good cause exists to grant this agreed motion for these reasons:

         1.       On December 13, 2023, this Court adopted a scheduling order that set

August 2, 2024 as the discovery deadline, October 16, 2024 as the deadline for

dispositive motions, and November 15, 2024 as the deadline for responses to



                                              1
     Case 4:23-cv-03556 Document 69 Filed on 06/03/24 in TXSD Page 2 of 7




dispositive motions.

      2.     Then, on March 14, 2024, the Court partially stayed discovery from

Defendants City of Houston, Officer Douglas, and Officer Whitworth (City

Defendants), pending resolution of those Officers’ motion to dismiss based on

qualified immunity. ECF No. 64. The Court’s order stays all discovery against the

Officers as well as discovery “related to claims against the Officers and related to any

Monell claim” Id. ¶ 2. A motion to clarify that order is pending. ECF Nos. 65–66.

      3.     Under Rule 16(b)(4), the Court’s scheduling order “may be modified only

for good cause and with the judge’s consent.” Courts within the Fifth Circuit assess

good cause by considering four factors: “(1) the explanation for the failure to timely

meet the scheduling order deadline; (2) the importance of the modification; (3)

potential prejudice in allowing an extension to the deadline; and (4) the availability

of a continuance to cure potential prejudice.” Filgueira v. U.S. Bank Nat'l Ass'n, 734

F.3d 420, 422 (5th Cir. 2013). “‘No single factor is dispositive, nor must all the factors

be present.’” United States v. 4.620 Acres of Land, more or less, in Hidalgo Cnty.,

Texas, No. 7:20-CV-00154, 2022 WL 538713, at *1 (S.D. Tex. Feb. 23, 2022) (citation

omitted).

      4.     Here, each of those factors favor amending the scheduling order to allow

the parties to complete discovery.

      5.     The first factor favors granting this motion. The parties have

started written discovery, and are engaging in good faith discussions about the scope

of discovery. Even so, the parties believe they cannot effectively complete discovery



                                            2
     Case 4:23-cv-03556 Document 69 Filed on 06/03/24 in TXSD Page 3 of 7




by the current August 2, 2024 deadline for two reasons.

      6.       First, the Court has stayed discovery relevant to the claims against the

Officers pending the outcome of their motion to dismiss which raises a qualified

immunity defense. Thus, it is unlikely that Plaintiffs can complete discovery, for

example, on their claims against the Officers and certain Monell claims against the

City by August 2, 2024.

      7.       Second, the parties and counsel have several case and travel obligations

during June and July that will hinder scheduling and taking depositions. The parties

likewise expect that several depositions will need to be scheduled and taken.

      8.       Because the parties need additional time to complete discovery,

extending the dispositive motion deadlines by 60 day is also apt. That extension will

permit the parties to present fully developed summary judgment motions, if

appropriate.

      9.       The second factor favors granting this motion. The importance of

modifying the scheduling order is high. Depending on the Court’s resolution of the

Officers’ qualified immunity defense, Plaintiffs will need additional time for discovery

related to their claims against the Officers and related claims against the City.

Without that additional time, Plaintiffs assert that they will be unable to engage in

the discovery needed to fairly assess and present their claims and defenses.

      10.      The third and fourth factors favor granting this motion. Because

the parties have agreed to the extended dates, no party will suffer prejudice from the

requested relief. On the other hand, Plaintiffs assert that they will suffer prejudice,



                                           3
     Case 4:23-cv-03556 Document 69 Filed on 06/03/24 in TXSD Page 4 of 7




for example, if they are unable to complete discovery on their claims against the

Officers if and when the current stay on discovery over those claims expires. Because

the parties must have “complete discovery to fully present [their] case … [t]his factor

… weighs in favor of allowing the modification of the scheduling order.” Brooks v.

Home Depot U.S.A., Inc., No. CV H-20-3960, 2022 WL 195851, at *4 (S.D. Tex. Jan.

21, 2022).

         11.   What is more, because the parties are requesting to extend the deadlines

not for delay, but for good cause, the request will not hinder the Court’s ability to

resolve this matter justly. The parties are not asking the Court to alter any dates

related to trial. For instance, the proposed new dispositive motion deadlines would

occur more than three months before the April 14, 2025 deadline for the joint pretrial

order.


                                    CONCLUSION

         For good cause shown, the parties ask the Court to amend its scheduling order

to extend deadlines for discovery and dispositive motions.

Dated: June 3, 2024                      Respectfully submitted,


                                         /s/ JT Morris
                                         John Greil (TX 24110856)
                                         Steven T. Collis (TX 24122632)
                                         Law and Religion Clinic
                                         University of Texas School of Law
                                         727 E. Dean Keaton St.
                                         Austin, TX 78705
                                         (512) 475-9090
                                         john.greil@law.utexas.edu
                                         steven.collis@law.utexas.edu



                                           4
Case 4:23-cv-03556 Document 69 Filed on 06/03/24 in TXSD Page 5 of 7




                               JT Morris (TX 24094444)
                               Gabe Walters*
                               Zachary Silver*
                               Foundation for Individual Rights and
                               Expression
                               (215) 717-3473
                               700 Pennsylvania Ave., Suite 340
                               Washington, D.C. 20003
                               jt.morris@thefire.org
                               gabe.walters@thefire.org

                               Daniel Ortner*
                               Foundation for Individual Rights and
                               Expression
                               510 Walnut St., Suite 900
                               Philadelphia, PA 19106
                               daniel.ortner@thefire.org

                               *Admitted pro hac vice

                               Attorneys or Plaintiffs
                               Daraius Dubash and
                               Dr. Faraz Harsini



                               /s/ Andrew S. Holland (with permission)
                               Andrew S. Holland
                               State Bar No. 24134330
                               Andrew.holland@wilsonelser.com
                               Wilson, Elser, Moskowitz, Edelman &amp; Dicker,
                               LLP
                               909 Fannin St., Suite 3300
                               Houston, TX 77010
                               713-353-2000 tel
                               713-785-7780 fax

                               Attorneys for Defendants City of Houston,
                               Robert Douglas, Vern Whitworth, Discovery
                               Green Conservancy and Barry Mandel


                               /s/ Laura Flores Macom (with permission)
                               MICHAEL H. WALLIS
                               SBN: 24033426
                               LAURA FLORES MACOM
                                 5
Case 4:23-cv-03556 Document 69 Filed on 06/03/24 in TXSD Page 6 of 7




                               SBN: 24002512
                               THORNTON, BIECHLIN,
                               REYNOLDS & GUERRA, L.C.
                               One International Centre
                               100 N.E. Loop 410, Suite 500
                               San Antonio, TX 78216-4741
                               Telephone: (210) 581-0294
                               Facsimile: (210) 525-0666
                               Email: MWallis@thorntonfirm.com
                               Email: LMacom@thorntonfirm.com

                               ATTORNEYS FOR DEFENDANT,
                               HOUSTON DOWNTOWN PARK
                               CORPORATION




                                 6
     Case 4:23-cv-03556 Document 69 Filed on 06/03/24 in TXSD Page 7 of 7




                          CERTIFICATE OF SERVICE
      I hereby certify that on June 3, 2024, I electronically filed the foregoing with

the Clerk of the United States District Court for the Southern District of Texas

using the CM/ECF system, which will send notification of such filing to all counsel

of record.




                                           /s/ JT Morris
                                           JT Morris




                                          7
